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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

   IN RE:                                  §         Case No. 23-42384-11
                                           §
   SPARTAN GROUP HOLDINGS,                 §         Chapter 11
   LLC,                                    §
                                           §         Joint Administration Requested
            Debtor.                        §
                                           §
                                           §
   IN RE:                                  §         Case No. 23-42385-11
                                           §
   SPARTAN CONCRETE                        §         Chapter 11
   CONSTRUCTION, LLC,                      §
                                           §         Joint Administration Requested
            Debtor.                        §


        COMMERCE CONSTRUCTION COMPANY, L.P.’S OBJECTION
  TO DEBTORS’ EMERGENCY MOTION FOR ENTRY OF ORDER FACILITATING
         SECTIONS 362(A) AND 542(A) OF THE BANKRUPTCY CODE

       Commerce Construction Company, L.P. (“Commerce”), an interested party, files its Objection

to Debtors’ Emergency Motion for Entry of Order Facilitating Sections 362(a) and 542(a) of the

Bankruptcy Code (Doc. No. 18) (the “Motion”) and would show the Court as follows:

       1.      Debtors filed their voluntary Chapter 11 Petitions on December 13, 2023.

       2.      Debtors filed the Motion on December 18, 2023. An expedited hearing on the Motion

was set for December 21, 2023.

       3.      Commerce is a general contractor who currently has construction contracts with one of

the Debtors, Spartan Concrete Construction, LLC (“Spartan Concrete”). True and correct copies of

the contracts are attached to these Objections as Exhibits A and B (highlights have been added for the

Court’s reference).




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        4.       In the Motion and various other filings, Debtors contend that they have pre-petition

receivables of more than $6.6 million. Debtors assert that some of those receivables may be owed to

one or more Debtors by Commerce.

        5.       Commerce objects to making any of the payments requested by Debtors in the Motion

or any of the other “Day One” Motions to be heard on December 21, 2023. Debtors claim that

Commerce has withheld payments of funds otherwise due to Debtors solely based on demands for

payment received from various creditors of Debtors, including a group Debtors refer to as the

“Factors” in the Motion. This claim is inaccurate for several reasons.

        6.       First, the funds at issue are not due to Spartan Concrete or any other Debtor because it

did not comply with its obligations under the construction contracts. In the contracts, Spartan Concrete

agreed to perform concrete work on two projects.1 See Subcontract Agreement dated December 6,

2022 for Silver Creek Building 2 Project at p. APP-002, ¶ A-B (“Building Contract”) (Ex. A);

Subcontract Agreement dated March 21, 2023 for Silver Creek Road Improvements Project at p. APP-

033, ¶ A-B (“Road Contract”) (Ex. B).

        7.       Spartan Concrete agreed that time was of the essence in performing its obligations.

Building Contract at p. APP-004, ¶ 7 (Ex. A). If Spartan Concrete failed to “properly and diligently

prosecute the Work covered by this Subcontract,” Spartan Concrete agreed that Commerce could

employ other persons to finish the work under the contracts. Id. at ¶ 8. In that situation, Spartan

Concrete is not entitled to any payment at all until its work under the contracts has been completed by

Commerce and the supplemental contractors hired to perform Spartan Concrete’s work. Id. If the

expenses incurred to finish Spartan Concrete’s scope of work exceed the difference between the


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  The language relevant to these Objections is identical in both the Building Contract and the Road Contract. Given
the expedited nature of these proceedings and in the interest of efficiency, Commerce will cite to the pertinent
language in the Building Contract and can point out the identical language in the Road Contract at the hearing if
needed.

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agreed-upon total contract amounts and the amounts previously paid to Spartan Concrete (the

“Contract Balance”), then Spartan Concrete would owe the difference to Commerce. Id.

       8.       Spartan Concrete further agreed that any requested payments from Commerce could be

withheld because of Spartan Concrete’s failure to comply with the contracts’ terms and conditions,

unsatisfactory performance of the work, failure to remedy defective work, failure to pay Spartan

Concrete’s lower-tier subcontractors, and reasonable indications that Spartan Concrete could not

perform its work on schedule. Id. at APP-007 ¶ 29(c). No payment is due until these issues have been

remedied. Id. With respect to unpaid lower-tier subcontractors, Spartan Concrete expressly agreed that

no payment was due unless and until Spartan Concrete furnished releases from the lower-tier

subcontractors and/or documentation substantiating the amounts owed or paid as required by

Commerce. Id.

       9.       Spartan Concrete had other obligations under the contracts besides completing its work.

For example, Spartan Concrete agreed to reimburse Commerce or the other subcontractors for losses

resulting from delays caused by Spartan Concrete. Id. at p. APP-004 ¶ 8. Spartan Concrete agreed to

furnish lien releases from all of its lower-tier subcontractors as a condition precedent to Commerce’s

obligation to make payments. Id. at p. APP-007 ¶ 29(b).

       10.      Spartan Concrete promised that any funds it received from Commerce would be trust

funds for the benefit of Spartan Concrete’s lower-tier subcontractors, materialmen, and other

contracting parties furnishing labor or materials for construction of the projects. Id. at ¶ 29(e). Spartan

Concrete agreed to hold those funds in trust for the lower-tier subcontractors and to pay those entities

first before applying the funds to any other purposes (including, for example, Spartan Concrete’s own

internal expenses or debts to its creditors). Id. Spartan Concrete also agreed to defend, indemnify, and

hold harmless Commerce against claims by Spartan Concrete’s lower-tier subcontractors for



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nonpayment and/or enforcement mechanic’s liens against the projects. Id. at p. APP-004-005 ¶ 11.

Commerce is expressly authorized to withhold and recoup from any funds which might otherwise be

due to Spartan Concrete any costs or damages incurred by Commerce to defend against such lower-

tier subcontractors’ claims. Id.

       11.     Spartan Concrete would not be entitled to a payment from Commerce unless the total

expenses incurred by Commerce to complete Spartan Concrete’s work and satisfy its other obligations

under the contracts are less than the Contract Balance. Id. at p. APP-004 ¶ 8 (Ex. A).

       12.     With respect to the projects, Spartan Concrete has repeatedly breached its contracts

with Commerce. Spartan Concrete did not complete its work on the projects. It has not performed

work on the projects since early November 2023. Commerce was forced to hire another concrete

contractor to supplement and finish the remaining scope of Spartan Concrete’s work on the projects.

A true and correct copy of correspondence notifying Spartan Concrete of the supplementation is

attached as Exhibit C. The supplemental contractor is still in the process of performing that work,

which remains incomplete at this time.

       13.     Commerce has also received notices from various lower-tier subcontractors of Spartan

Concrete that they did not receive payments for their work on the projects. Several of those

subcontractors have filed affidavits asserting mechanic’s liens against the projects. True and correct

copies of several of the lien affidavits are attached as Exhibits D and E. Upon information and belief,

Spartan Concrete requested and received payments for some of these lower-tier subcontractors, then

diverted the funds to other purposes without paying them.

       14.     Commerce also has received notice that Spartan Concrete has failed to maintain the

insurance required under its contracts. Building Contract at p. APP-024 ¶ 1 (insurance policies must

remain in force during the entire period of construction). It appears that Spartan Concrete could not



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finish performing its work even if it had the resources to do so. A true and correct copy of the notice

regarding the insurance is attached as Exhibit F.

       15.        For all of these reasons, no payments are due to Spartan Concrete (or any other Debtors)

at this time. Commerce disputes the contention that Commerce is “ready, willing, and able” to pay the

full amount demanded by Debtors under the contracts. At present, the amount (if any) which may be

due under the contracts to Spartan Concrete is contested. Commerce asks that the Court reject Debtors’

unfounded demands for immediate turnover of funds to which they are not entitled without providing

any of the due-process protections afforded to Commerce under the Bankruptcy Code and other

applicable law.

       16.        Second, if any funds become due under the contracts, at least some portion of those

funds are trust funds for the lower-tier subcontractors protected under the Texas Trust Fund Act. TEX.

PROP. CODE §§ 162.001, et seq. Such trust funds are not property of the Debtors’ estate at all. They are

currently held in trust by Commerce as a statutory trustee for the benefit of the unpaid lower-tier

subcontractors under the Trust Fund Act. Commerce objects that granting the emergency order

requested by Debtors would move the property of other parties (the lower-tier subcontractors) into the

bankruptcy estate and then would subject them to dissipation by Debtors in their attempts to resuscitate

their failing businesses rather than to pay the trust funds to the beneficiaries. This would, in turn,

subject Commerce and the projects’ owners to the risk and expense of litigating the various mechanic’s

lien claims that have been (and likely will be) asserted by Spartan Concrete’s lower-tier subcontractors.

       17.        Third, to the extent Commerce is holding any funds which might otherwise be due to

Spartan Concrete, Commerce should be allowed to recoup from those funds all of the amounts incurred

due to Spartan Concrete’s violations of the contracts above.




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        18.    Finally, Commerce objects to Debtors’ failure to meet their burden to demonstrate that

they are entitled to any funds from Commerce, and the calculation of the amount of such funds.

        19.    Debtors have filed “emergency” motions demanding orders that Commerce

immediately pay funds to which Debtors are not entitled. There is no “emergency” here. Debtors have

known for almost two months that they were not receiving any of their requested payments because

they did not finish their work on the projects and did not pay their lower-tier subcontractors. Rather,

Debtors wish to prejudice Commerce’s rights under the Bankruptcy Code and the contracts by forcing

immediate payment of amounts that Commerce does not owe to Debtors.

        20.    For all of these reasons, Commerce objects to the Motion and requests that it be denied.

In the alternative, Commerce requests that the Court continue the hearing on the Motion to allow

sufficient time for Commerce to prepare a formal response to the Motion and present its evidence to

the Court. Commerce also requests such other and further relief to which it may show itself justly

entitled.

        21.    In asserting these Objections, Commerce expressly reserves and does not waive its

rights under the contracts and applicable law.

                                                     Respectfully submitted,

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                                                   T: 972-392-8900
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                                                   ATTORNEYS FOR COMMERCE
                                                   CONSTRUCTION CO., L.P.

                               CERTIFICATE OF SERVICE
       I certify that on December 21, 2023 a true and correct copy of the foregoing Notice of

Appearance and Request for Service of Notice and Other Documents was served upon all counsel of

record via Court's CM/ECF electronic notification system or by U.S. First Class Mail, postage

prepaid.


                                                   /s/ Jason L. Cagle
                                                   Jason L. Cagle




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